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                    ATTACHMENT
                              A
                  Redacted Docket Materials
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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                              District of Columbia

              In the Matter of the Search of
       (Briefly describe the property to be searched
        or identify the person by name and address)                                         Case No. 20-sc-1140
INFORMATION ASSOCIATED WITH ONE ACCOUNT STORED
      AT PREMISES CONTROLLED BY MICROSOFT
    CORPORATION PURSUANT TO 18 U.S.C. 2703 FOR
   INVESTIGATION OF VIOLATIONS OF 50 U.S.C. § 1705

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  See Attachment A incorporated herein and included as part of the Affidavit in Support of this Application for a Search
  Warrant
located in the       Western         District of          Washington               , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B incorporated herein and included as part of the Affidavit in Support of this Application for a Search
 Warrant

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ff evidence of a crime;
                 Iff contraband, fruits of crime, or other items illegally possessed;
                 J property designed for use, intended for use, or used in committing a crime;
                 7I a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                                   Offense Description
        50 U.S.C. § 1705                          Violation of the International Emergency Economic Powers Act
        50 U.S.C. § 4819                          Violation of the Export Control Reform Act of 2018
        18 U.S.C. § § 2 and 371                   Aiding and Abetting and Conspiracy
        18 U.S.C. § 1956                          Money Laundering
         The application is based on these facts:
        See attached Affidavit

           71 Continued on the attached sheet.
           71 Delayed notice of        days (give exact ending date if more than 30 days:                                 ) is requested under
              18 U.S.C. § 3103a, the basis of which is set forth




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                        (specify reliable electronic means).


Date:            05/13/2020
                                                                                                         Judge's signature

City and state: Washington, D.C.                                                            G. Michael Harvey, U.S. Magistrate Judge
                                                                                                       Printed name and title
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AO 93C (�����) �������������������������������������������������������               � Original                � Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
            (Briefly describe the property to be searched                   )
             or identify the person by name and address)                    )      Case No. 20-sc-1140
        INFORMATION ASSOCIATED WITH ONE ACCOUNT                             )
      STORED AT PREMISES CONTROLLED BY MICROSOFT
        CORPORATION PURSUANT TO 18 U.S.C. 2703 FOR
                                                                            )
       INVESTIGATION OF VIOLATIONS OF 50 U.S.C. § 1705                      )

                 �������������������������������������������������������
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search�������������
of the following person or property located in the�                        Western   District of           Washington
(identify the person or describe the property to be searched and give its location):
  See Attachment A incorporated herein and included as part of the Affidavit in Support of this Application for a Search Warrant




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B incorporated herein and included as part of the Affidavit in Support of this Application for a Search Warrant




        YOU ARE COMMANDED to execute this warrant on or before                   May 27, 2020          (not to exceed 14 days)
      � in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               � at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to            U.S. Magistrate Judge G. Michael Harvey          .
                                                                                                  (United States Magistrate Judge)

     � Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     � for         days (not to exceed 30) � until, the facts justifying, the later specific date of                                   .


Date and time issued:          05/13/2020
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                         G. Michael Harvey U.S. Magistrate Judge
                                                                                                        Printed name and title
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
  20-sc-1140
Inventory made in the presence of :

Inventory of the property taken and name��� of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                       ATTACHMENT A
                                     Property to Be Searched


       This warrant applies to information which is associated with the Hotmail account(s)

identified by                               and which is stored at premises owned, maintained,

controlled, or operated by Microsoft Corporation, a company that accepts service of legal process

at One Microsoft Way, Redmond, Washington.




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                                        ATTACHMENT B


                         Particular Things to be Seized and Procedures
                             to Facilitate Execution of the Warrant

   I.        Information to be disclosed by Microsoft Corporation (“PROVIDER”) to
             facilitate execution of the warrant

        To the extent the information described in Attachment A is within the possession, custody,

or control of the Provider, including any e-mails, records, files, logs, or information that has been

deleted but is still available to the Provider, or has been preserved pursuant to a request made under

18 U.S.C. § 2703(f), the Provider is required to disclose the following information to the

government for each account or identifier (“Account”) listed in Attachment A:


        a.     For the time period from October 1, 2012, to the present: The contents of all

communications and related transactional records for all PROVIDER services used by an Account

subscriber/user (such as e-mail services, calendar services, file sharing or storage services, photo

sharing or storage services, remote computing services, instant messaging or chat services, voice

call services, or remote computing services), including but not limited to incoming, outgoing, and

draft e-mails, messages, calls, chats, and other electronic communications; attachments to

communications (including native files); source and destination addresses and header or routing

information for each communication (including originating IP addresses of e-mails); the date, size,

and length of each communication; and any user or device identifiers linked to each

communication (including cookies); 5




        5
         Here, PROVIDER’s other services include: electronic communication and remote
computing services such as Skype (voice calls, video calls, and SMS text messaging), Outlook
Calendar (calendar and task), Office Online (cloud computing services for word processing, data
processing, and presentations); OneDrive (online file storage); web browsing and search tools such
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       b.      For the time period from October 1, 2012, to the present: The contents of all other

data and related transactional records for all PROVIDER services used by an Account user (such

as e-mail services, calendar services, file sharing or storage services, photo sharing or storage

services, remote computing services, instant messaging or chat services, voice call services, or

remote computing services), including any information generated, modified, or stored by user(s)

or PROVIDER in connection with the Account (such as contacts, calendar data, images, videos,

notes, documents, bookmarks, profiles, device backups, and any other saved information);


       c.      For the time period from October 1, 2012, to the present: All PROVIDER records

concerning the online search and browsing history associated with the Account or its users (such

as information collected through tracking cookies);


       d.      For the time period from October 1, 2012, to the present: All records and other

information concerning any document, or other computer file created, stored, revised, or accessed

in connection with the Account or by an Account user, including the contents and revision history

of each document or other computer file, and all records and other information about each

connection made to or from such document or other computer file, including the date, time, length,




as Bing Search (internet searches), Microsoft Edge, and Internet Explorer (web browsers); Bing
Maps (maps with driving directions and local business search) and other location services; online
tracking and advertising tools such as Bing Ads (which facilitates targeted advertising); and
Microsoft Store (which allows users to purchase and download digital content, e.g., applications).
Microsoft also provides remote computing services for devices that use Windows operating
systems, including security services and parental control services which collect information about
the use of the devices (e.g., internet browsing history, software usage history, and other
information).


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and method of connection; server log records; data transfer volume; and source and destination IP

addresses and port numbers;


         e.     All records regarding identification of the Account, including names, addresses,

telephone numbers, alternative e-mail addresses provided during registration, means and source of

payment (including any credit card or bank account number), records of session times and

durations (including IP addresses, cookies, device information, and other identifiers linked to those

sessions), records of account registration (including the IP address, cookies, device information,

and other identifiers linked to account registration), length of service and types of services utilized,

account status, methods of connecting, and server log files;


         f.     All records pertaining to devices associated with the Account and software used to

create and access the Account, including device serial numbers, instrument numbers, model

types/numbers, International Mobile Equipment Identities (“IMEI”), Mobile Equipment

Identifiers (“MEID”), Global Unique Identifiers (“GUID”), Electronic Serial Numbers (“ESN”),

Android Device IDs, phone numbers, Media Access Control (“MAC”) addresses, operating system

information, browser information, mobile network information, information regarding cookies and

similar technologies, and any other unique identifiers that would assist in identifying any such

device(s), including unique application numbers and push notification tokens associated with the

Account (including Apple Push Notifications (“APN”), Google Cloud Messaging (“GCM”),

Microsoft Push Notification Service (“MPNS”), Windows Push Notification Service (“WNS”),

Amazon Device Messaging (“ADM”), Firebase Cloud Messaging (“FCM”), and Baidu Cloud

Push);




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          g.   Basic subscriber records and login history (including, as described in 18 U.S.C.

§ 2703(c)(2), names, addresses, records of session times and durations, length of service and types

of service utilized, instrument numbers or other subscriber numbers or identities, and payment

information) concerning any PROVIDER account (including both current and historical accounts)

ever linked to the Account by a common e-mail address (such as a common recovery e-mail

address), or a common telephone number, means of payment (e.g., credit card number),

registration or login IP addresses (during one-week period), registration or login cookies or similar

technologies, or any other unique device or user identifier;


          h.   All information held by PROVIDER related to the location and location history of

the user(s) of the Account, including geographic locations associated with the Account (including

those collected for non-PROVIDER based applications), IP addresses, Global Positioning System

("GPS") information, and information pertaining to nearby devices, Wi-Fi access points, and cell

towers;


          i.   For the time period from October 1, 2012 to the present: All records of

communications between PROVIDER and any person regarding the Account, including contacts

with support services and records of actions taken;


       j.      Information about any complaint, alert, or other indication of malware, fraud, or

terms of service violation related to the Account or associated user(s), including any memoranda,

correspondence, investigation files, or records of meetings or discussions about the Account or

associated user(s) (but not including confidential communications with legal counsel).


               Within 14 days of the issuance of this warrant, PROVIDER shall deliver the

information set forth above via United States mail, courier, or e-mail to the following:


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   II.       Information to be seized by the government

         All information described above in Section I that constitutes evidence, fruits, or

instrumentalities of violations of 50 U.S.C. § 1705 (IEEPA), 18 U.S.C. § 1956 (money

laundering), and 50 U.S.C. § 4819 (ECRA), as well as conspiracy to defraud the United States (18

U.S.C. § 371) and aiding and abetting violations of these provisions (18 U.S.C. § 2), for each

account or identifier listed on Attachment A, including but not limited to information pertaining

to the following matters:

            (a) Information that constitutes evidence of the identification or location of the user(s)

               of the accounts;

            (b) Information involving the procurement or attempted procurement of U.S.-origin

               goods for use in         or by any end-user or entity outside the United States;

            (c) Knowledge of United States export control laws;

            (d) Conversations between the account holder(s) and individuals as it relates to the

               export of U.S.-origin products;

            (e) Evidence indicating how and when the account was accessed or used, to determine

               the geographic and chronological context of account access, use, and events relating

               to the crime under investigation and to the e-mail account owner;

            (f) Evidence indicating the account owner's state of mind as it relates to the criminal

               activity under investigation;

            (g) The identity of the person(s) who created or used the account, including records

               that help reveal the whereabouts of such person(s);

            (h) Identification of coconspirators, accomplices, and aiders and abettors in the

               commission of the above offenses; and



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       (i) The identity of the person(s) who communicated with the account holder about

          matters relating to the provision, attempted provision, procurement, or attempted

          procurement of U.S. origin goods, including records that help reveal their

          whereabouts.




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III.   Government procedures for warrant execution

       The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

       Law enforcement personnel will then seal any information from the PROVIDER that

does not fall within the scope of Section II and will not further review the information absent an

order of the Court. Such sealed information may include retaining a digital copy of all

information received pursuant to the warrant to be used for authentication at trial, as needed.




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                     CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                    BUSINESS RECORDS PURSUANT TO FEDERAL RULE
                                OF EVIDENCE 902(11)


        I, _________________________________, attest, under penalties of perjury under the

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained

in this declaration is true and correct. I am employed by Microsoft C (“Microsoft ”), and my

official title is _____________________________. I am a custodian of records for Microsoft . I

state that each of the records attached hereto is the original record or a true duplicate of the original

record in the custody of Microsoft , and that I am the custodian of the attached records consisting

of __________ (pages/CDs/kilobytes). I further state that:


        a.      all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth, by, or from information transmitted by, a person with knowledge

of those matters;


        b.      such records were kept in the ordinary course of a regularly conducted business

activity of Microsoft ; and


        c.      such records were made by Microsoft as a regular practice.


        I further state that this certification is intended to satisfy Rule 902(11) of the Federal Rules

of Evidence.




 Date                                  Signature
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  IN THE MATTER OF THE SEARCH OF
  INFORMATION ASSOCIATED WITH
  ONE ACCOUNT STORED AT
                                                    SC No. 20-1140
  PREMISES CONTROLLED BY
  MICROSOFT CORPORATION
                                                    Filed Under Seal
  PURSUANT TO 18 U.S.C. 2703 FOR
  INVESTIGATION OF VIOLATIONS OF
  50 U.S.C. § 1705

 Reference:     USAO Ref #                   Subject Account(s):

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

                           being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant for information

associated with one account—that is,                                (TARGET ACCOUNT)—that

is stored at the premises controlled by Microsoft Corporation ("PROVIDER"), an electronic

communications services provider and/or remote computing services provider that is headquartered

at One Microsoft Way, Redmond, Washington. The property to be searched is described in

Attachment A. This affidavit is made in support of an application for a search warrant under 18

U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Microsoft to disclose to the

government copies of the information (including the content of communications) further described

in Section I of Attachment B. Upon receipt of the information described in Section I of Attachment

B, government-authorized persons will review that information to locate the items described in

Section II of Attachment B, using the procedures described in Section III of Attachment B.
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        5.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does not

set forth all of my knowledge, or the knowledge of others, about this matter.

        6.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 50 U.S.C. § 1705 (the

International Emergency Economic Powers Act), 18 U.S.C. § 1956 (money laundering), and 50

U.S.C. § 4819 (the Export Control Reform Act of 2018), as well as conspiracies to violate these

provisions (18 U.S.C. § 371) and aiding and abetting violations of these provisions (18 U.S.C. § 2)

have been committed by                                (the user of TARGET ACCOUNT) and others.

There is also probable cause to search the information described in Attachment A for evidence,

instrumentalities, or fruits of these crimes further described in Attachment B.

                                             JURISDICTION

        7.      This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711, 18 U.S.C. §§ 2703(a), (b)(1)(A) and

(c)(1)(A). Specifically, the Court is "a district court of the United States . . . that has jurisdiction over

the offense being investigated." 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below, acts or

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omissions in furtherance of the offenses under investigation occurred within Washington, DC, see

18 U.S.C. § 3237, and the criminal offenses under investigation began or were committed upon the

high seas, or elsewhere out of the jurisdiction of any particular State or district, and no offender is

known to have, or have had, residence within any United States district. See 18 U.S.C. § 3238. Also,

certain of the statutes setting forth the federal offenses under investigation, namely 18 U.S.C. § 1956

(money laundering), apply extraterritorially. The offenses under investigation are also the subject of

an investigation in the District of Columbia.

                                 APPLICABLE CRIMINAL LAW


       8.      The Export Administration Act and the Export Administration Regulations, the

International Emergency Economic Powers Act, 50 U.S.C. § 1705 (“IEEPA”), and the Export

Control Reform Act of 2018. The EAA regulates the export of goods, technology, and software

from the United States. Pursuant to the provisions of the EAA, the DOC promulgated the EAR, 15

C.F.R. §§ 730-774, which contain additional restrictions on the export of goods outside of the United

States, consistent with the policies and provisions of the EAA. See 15 C.F.R. § 730.02. Although the

EAA lapsed on August 17, 2001, pursuant to the authority provided to the President under IEEPA,

the President issued Executive Order 13222. In that order, the President declared a national

emergency with respect to the unusual and extraordinary threat to the national security, foreign

policy, and economy of the United States in light of the expiration of the EAA. Accordingly,

pursuant to IEEPA, the President ordered that the EAR’s provisions remain in full force and effect

despite the expiration of the EAA. Presidents have repeatedly signed renewals of the national

emergency with respect to the EAA’s expiration, the most recent being that of August 8, 2018. 83

Fed. Reg. 39871 (Aug. 8, 2018).


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       9.         Under IEEPA, it is a crime to willfully violate any regulation promulgated

thereunder, including the EAR. See 50 U.S.C. § 1705. In particular, Title 50, United States Code,

Section 1705 provides:

                   (a)     Unlawful acts. It shall be unlawful for a person to violate,
                   attempt to violate, conspire to violate, or cause a violation of any
                   license, order, regulation, or prohibition issued under [the
                   International Emergency Economic Powers Act].

                   (b)    ...

                   (c)     Criminal penalty. A person who willfully commits, willfully
                   attempts to commit, or willfully conspires to commit, or aids and
                   abets in the commission of, an unlawful act described in subsection
                   (a) shall, upon conviction, be fined . . ., or if a natural person, may
                   be imprisoned for not more than 20 years, or both.

            10.    On August 13, 2018, the President signed into law the National Defense

 Authorization Act of 2019, which includes provision on export controls, entitled the Export

 Control Reform Act of 2018 (“ECRA”), 50 U.S.C. §§ 4801-4852. In part, ECRA provides

 permanent statutory authority for the EAR. For conduct that predates August 13, 2018, IEEPA is

 the controlling statute. For conduct occurring after August 13, 2018, ECRA is the controlling

 statute.

            11.    ECRA provides, among its stated policy objectives, that “the national security and

 foreign policy of the United States require that the export, reexport and in-country transfer of items,

 and specific activities of United States persons, wherever located, be controlled….” 50 U.S.C. §

 4811(2). To that end, ECRA grants the President the authority “(1) to control the export, reexport,

 and in-country transfer of items subject to the jurisdiction of the United States, whether by United

 States persons or by foreign persons; and (2) the activities of United States persons, wherever




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located, relating to” specific categories of items and information. Id. at § 4812(b). ECRA further

grants the Secretary of Commerce the authority to establish the applicable regulatory framework.

       12.     Pursuant to that and prior authority, the DOC reviews and controls the export of

certain items, including goods, software, and technologies, from the United States to foreign

countries through the EAR, 15 C.F.R. §§ 730-774. In particular, the EAR restricts the export of

items that could make a significant contribution to the military potential of other nations or that

could be detrimental to the foreign policy or national security of the United States. The EAR

impose licensing and other requirements for items subject to the EAR to be lawfully exported from

the United States or lawfully re-exported from one foreign destination to another.

       13.     Items “subject to the EAR” include all items in the United States and all U.S.-origin

items wherever located, irrespective of whether a license was required for the export of that items

(with certain exceptions not relevant here). Activities of U.S. or foreign persons prohibited by any

order issued under the EAR were also are “subject to the EAR.”

       14.     The most sensitive items subject to EAR controls are identified on the CCL,

published at 15 C.F.R. part 774, Supp. No. 1. Items on the CCL are categorized by Export Control

Classification Numbers (“ECCN”), each of which has export control requirements depending on

destination, end use, and end user. “EAR99” is a classification for items subject to the EAR, but

not subject to certain expanded export controls associated with items with an ECCN.

       15.     In addition, the EAR contains a list of names of certain foreign persons—including

businesses, research institutions, government and private organizations, individuals, and other

types of legal persons—that are subject to specific license requirements for the export, reexport,

and/or in-country transfer of specified items. These persons comprise the DOC’s “Entity List,” at

Title 15, Code of Federal Regulations, Part 744, Supplement No. 4. Grounds for inclusion on the

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Entity List include activities sanctioned by the U.S. State Department and activities contrary to

U.S. national security or foreign policy interests. The persons on the Entity List are subject to

export licensing requirements and policies beyond those found elsewhere in the EAR. The BIS

license requirement applies to any transaction in which items are to be exported, reexported, or

transferred to such persons or in which such persons act as a purchaser, intermediate consignee,

ultimate consignee, or end-user.

       16.     Pursuant to 50 U.S.C. § 4819(a)(1), “[i]t shall be unlawful for a person to violate,

attempt to violate, conspire to violate, or cause a violation of this part or of any regulation, order,

license, or other authorization issued under this part,” and pursuant to §4819(b),”[a] person who

willfully commits, willfully attempts to commit, or willfully conspires to commit, or aids or abets

in the commission of, an unlawful act described in subsection (a) shall” be guilty of a crime.

       17.     International Money Laundering. 18 U.S.C. §§ 1956(a)(2) and (c)(7)(B)(v)(II)

provide, in pertinent part:

               (a)(2) Whoever transports, transmits, or transfers, or attempts to
               transport, transmit, or transfer a monetary instrument or funds from
               a place in the United States to or through a place outside the United
               States or to a place in the United States from or through a place
               outside the United States—

               (A) with the intent to promote the carrying on of specified unlawful
               activity . . .

               shall be sentenced to a fine of not more than $500,000 or twice the
               value of the monetary instrument or funds involved in the
               transportation, transmission, or transfer, whichever is greater, or
               imprisonment for not more than twenty years, or both.

               (c) As used in this section—

                (7) the term “specified unlawful activity” means--
               ...
                 (B) with respect to a financial transaction occurring in whole or in

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                   part in the United States, an offense against a foreign nation
                   involving--

                     (v) smuggling or export control violations involving—

                   (II) an item controlled under regulations under the Export
                   Administration Regulations (15 C.F.R. Parts 730-774).

                               RELEVANT PERSONS AND ENTITIES

         18.                                          the user of TARGET ACCOUNT, is believed to

be a             national who lives in                     According to BIS and the Federal Register,

               and her former company,                     were added to the Entity List on or about

                    for their involvement in the procurement and delivery of

               to entities and persons in       in violation of the EAR and the International Traffic

in Arms Regulations, 22 C.F.R. Parts 120-130.

         19.     Based on multiple investigative sources,               is believed to be married to

           Person A.

         20.                                                                             Person A is

believed to be a            national who resides in                   and is the president of

Company A and                Company B.

         21.     Based on open source records,                Person B is believed to be a

national who works for                Company B and is associated with                  and

Company A.

         22.     According to open source databases,                Company A is a ■

company, purported to be part of the                                      industry and to be involved

in import and export of goods.



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        23.     According to open source databases,                     Company B is a

company, also purported to be part of the                                             industry and to be

involved in import and export of goods.

        24.                              Company A,                Company B,              Person A, and

           Person B are collectively referred to as the SUBJECTS.

                                           PROBABLE CAUSE

                                                Background

        25.     As noted above,                 and                  were added to the Entity List on or

about

        26.     According to e-mail communications I reviewed between                           and BIS

officials, in or around November 2012,                      appealed BIS's decision to add her and her

company                   to the Entity List.

        27.     In or around April 2016,                  contacted BIS via a             e-mail address

to inquire about the status of her appeal and request reconsideration of the previous Entity List

decision. In this communication,                wrote that                  has been un-operational since

                 and that the company had been dissolved. Additionally,                   stated, "As per

all the paperwork submitted you can see that I have never done anything to jeopardise [sic] the

security and integrity of United States of America . . . I would like to request that after 3 year [sic]

my file is reviewed and my name is removed from the list."                      then informed BIS to use

TARGET ACCOUNT for further correspondence.

        28.                     efforts ultimately were not successful, and she remains on the Entity

List as of the date of this affidavit.



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                                          Suspected Scheme to Procure U.S. Goods

          29.     Based on my training and experience, and the investigation to date, I have identified

numerous indicators that suggest                 has participated in the creation and operation of two

companies,                Company A and               Company B. As detailed below, I believe

Company A and                    Company B were formed, at least in part, to facilitate the illicit

procurement of U.S.-origin items by                      and others in order to circumvent the licensing

requirements on                  and                  imposed due to their listing on the Entity List, in

violation of IEEPA, ECRA, and other applicable U.S. laws and regulations.

          30.     According to a              business registry website I reviewed in April 2020,

            Company B was formally incorporated in December 2012 and                    Company A was

incorporated in March 2013, just months after                   and             were added to the Entity

List in                    The president of both companies was listed as               Person A, who I

believe is                             according to multiple investigative sources. Both

Company B and                 Company A have a listed address in

                                                      respectively.

          31.     Based on the open source domain information for                Company B's website,

                was the                                                  of contact for the domain, with

TARGET ACCOUNT listed as the contact e-mail address. Moreover,                            Company B's

website was registered on or about October 30, 2012, approximately               weeks after

and                  were added to the Entity List.

          32.     According to a publicly viewable website that collects global trade data and company

profile information, as of April 26, 2020,                  Company B had a previous address of



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                                                    The Entity List lists this same address as belonging to

                and

         33.      On or about June 6, 2017, BIS Special Agents conducted an end-use check on

             Company A and met with                     Person A as part of BIS' regulatory mission.1

According to the BIS Special Agents who completed this check,                     Company A is a



                                                                                      During this end-use

check,                Person A informed the BIS Special Agents that all of             Company A's sales

are to customers in               In other words,             Company A reexports all of the goods it

receives from                       to

         34.      According to a                                                           as of April 27,

2020,                 Person B has been the                      of            Company B from January

2014 to the present, and was an                                                      from 2011 to 2013.

               Person B's duties in both positions have included



         35.      U.S. government export records show that               Company A has received at least

■      shipments of                                         since May 2015, with at least         of those



            1 As explained on the official BIS website: "Many end-use checks are conducted through
    BIS' Sentinel Program. Trained OEE Special Agents are deployed from the United States to
    countries to visit the end-users of sensitive controlled commodities and determine whether these
    items are being used in accordance with license conditions. Sentinel teams assess the suitability of
    foreign end-users to receive U.S.-origin licensed goods and technology, assess prospective end-
    users on pending license applications for diversion risk, and conduct educational outreach to
    foreign trade groups. In this way, Sentinel trips help to create the confidence needed to foster trade
    while strengthening U.S. national security."

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shipments since May 2019, for a total value of at least MII     2 Additionally,1 of these shipments

listed          Company A as an                                                           in M.

Based on my review of these records, the types of commodities listed (e.g.,

generally have fallen into the same category of items that were previously procured by

and                before they were added to the Entity List.

         36.   U.S. government export records did not show any exports of U.S. goods to

Company B. However,               Person B—an employee of              Company B according to.

                                   —was listed as a point of contact on a number of U.S. exports to

           Company A in 2014. Consequently, based on this listing and other information described

above, I believe             Company B and                 Company A are affiliated and that the

SUBJECTS have a business relationship.

         37.




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       38.      The 2703(d) order results for TARGET ACCOUNT show that                       had

approximately        e-mail exchanges with e-mail account

believed to be used by               (            ACCOUNT 2), from March 26, 2013, to October

29, 2019. Additionally, many of the e-mail exchanges between TARGET ACCOUNT and

             ACCOUNT 2 appear to coincide with the approximate dates of known exports by ■

companies to             Company A, some of which are detailed below.

             a. On or about October 22, 2013, an identified U.S. company exported electrical

                 components to              Company A. Between on or about October 21 and October

                 22, 2013, TARGET ACCOUNT sent                       ACCOUNT 2 three e-mails.

             b. On or about March 18, 2014, an identified U.S. company exported electrical

                 components to               Company A. On or about March 17, 2014, TARGET

                 ACCOUNT sent                    ACCOUNT 2 two e-mails.

             c. On or about July 7 and July 24, 2014, an identified U.S. company exported

                 electrical components to               Company A. Between on or about July 7 and

                 July 30, 2014, TARGET ACCOUNT and                        ACCOUNT 2 had seven

                 e-mail exchanges.

             d. On or about July 16, 2015, an identified U.S. company exported electrical

                 components to              Company A. Between on or about July 16 and July 17,

                 2015, TARGET ACCOUNT sent                        ACCOUNT 2 16 e-mails.

             e. On or about March 15, 2016, an identified U.S. company exported electrical

                 components to               Company A. On or about March 15, 2016, TARGET

                 ACCOUNT sent                    ACCOUNT 2 one e-mail.



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       f. On or about July 25, 2016, an identified U.S. company exported electrical

            components to               Company A. On or about July 25, 2016, TARGET

            ACCOUNT sent                   ACCOUNT 2 three e-mails.

       g.   On or about February 10, 2017, an identified U.S. company exported electrical

            components to              Company A. On or about February 10, 2017, TARGET

            ACCOUNT sent                   ACCOUNT 2 two e-mails.

       h. On or about August 22, 2017, an identified U.S. company exported electrical

            components to              Company A. On or about August 22, 2017, TARGET

            ACCOUNT sent                   ACCOUNT 2 four e-mails.

       i.   On or about May 18 and May 22, 2018, an identified U.S. company exported

            electrical components to              Company A. On or about May 18 and May 22,

            2018, TARGET ACCOUNT sent                        ACCOUNT 2 one e-mail.

            On or about November 21, 2018, an identified U.S. company exported electrical

            components to              Company A. On or about November 21, 2018, TARGET

            ACCOUNT sent                   ACCOUNT 2 an e-mail.

       k. On or about March 4, 2019, an identified U.S. company exported electrical

            components to               Company A. On or about March 4, 2019, TARGET

            ACCOUNT sent                   ACCOUNT 2 two e-mails.

       1.   On or about April 19, 2019, an identified U.S. company exported electrical

            components to               Company A. On or about April 19, 2019, TARGET

            ACCOUNT sent                   ACCOUNT 2 four e-mails.

       m. On or about September 12, 2019, an identified U.S. company exported electrical

            components to               Company A. Between on or about September 11 and

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                  September 13, 2019, TARGET ACCOUNT and                            ACCOUNT 2 had

                  three exchanges of e-mail communication.

        39.      As of May 1, 2020, the BIS export licensing database showed no current or historical

licenses approved for                   to receive exports or complete re-exports or transfers of U.S.-

origin items. Similarly, this database did not reflect any current or historical authorization on the

part of either           Company B or                Company A to receive U.S.-origin items on behalf

of

                            Potential Misrepresentations by                  to BIS

        40.      On September 19, 2019, I contacted                at TARGET ACCOUNT using my

official BIS e-mail account that contained a signature block showing my law enforcement status.

During this communication, I asked                   numerous questions, including if she had directly

or indirectly (including family members) been involved in the incorporation or operation of any

company used to receive U.S.-origin items since October 2012.                       , using TARGET

ACCOUNT, responded, "the answer to all questions is no..




        41.      After this exchange,               sent me via TARGET ACCOUNT a photocopy of

an identification card bearing her name, photo, date of birth, and other information. During my initial

e-mail to             , I had requested she send me a photocopy of an official identification document

in order for BIS to verify her identity.

        42.      On or about September 23, 2019, I received an e-mail from                       using

TARGET ACCOUNT, which read, "Dear [affiant]...i was thinking more about the questions i

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guess iphone and its accessories can be considered US technology as well as DELL PC and laptop,

but i purchased them for my personal use in             from the stores and telephone providers...Best

regards [            ]". Later that day, I replied to             that having commercial electronics

for personal use was not the intent of my original questions.

       43.     I submit there is probable cause that               has knowledge of the EAR and the

licensing requirements enacted when a person and/or company is added to the Entity List. I believe

             may be concealing her affiliation with             Company B and             Company A

in order to obscure her involvement in the procurement of                                        most

or all of which are subsequently re-exported from             to end-users in

As mentioned above, because of the increased risk to U.S. national security and foreign policy

interests, foreign persons found on the Entity List are generally prohibited from receiving U.S. goods

absent explicit BIS authorization.

                            BACKGROUND CONCERNING E-MAIL

       44.     Microsoft is the provider of the internet-based account(s) identified by TARGET

ACCOUNT.

       45.     The PROVIDER provides their subscribers internet-based accounts that allow them

to send, receive, and store e-mails online. The PROVIDER's accounts are typically identified by a

single username, which serves as the subscriber's default e-mail address, but which can also function

as a subscriber's username for the PROVIDER's other services, such as instant messages and remote

photo or file storage.

       46.     Based on my training and experience, I know that the PROVIDER allows subscribers

to obtain accounts by registering on the PROVIDER's website. During the registration process, the

PROVIDER asks subscribers to create a username and password, and to provide basic personal

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information such as a name, an alternate e-mail address for backup purposes, a phone number, and

in some cases a means of payment. The PROVIDER typically does not verify subscriber names.

However, the PROVIDER does verify the e-mail address or phone number provided.

       47.     Once a subscriber has registered an account, the PROVIDER provide e-mail services

that typically include folders such as an “inbox” and a “sent mail” folder, as well as electronic

address books or contact lists, and all of those folders are linked to the subscriber’s username. The

PROVIDER’s subscribers can also use that same username or account in connection with other

services provided by the PROVIDER.3

       48.     In general, user-generated content (such as e-mail) that is written using, stored on,

sent from, or sent to the PROVIDER’s account can be permanently stored in connection with that

account, unless the subscriber deletes the material. For example, if the subscriber does not delete an

e-mail, the e-mail can remain on the PROVIDER’s servers indefinitely. Even if the subscriber

deletes the e-mail, it may continue to exist on the PROVIDER’s servers for a certain period of time.




         3
           Here, PROVIDER’s other services include electronic communication and remote
 computing services such as Skype (voice calls, video calls, and SMS text messaging), Outlook
 Calendar (calendar and task), Office Online (cloud computing services for word processing, data
 processing, and presentations); OneDrive (online file storage); web browsing and search tools such
 as Bing Search (internet searches), Microsoft Edge, and Internet Explorer (web browsers); Bing
 Maps (maps with driving directions and local business search) and other location services; online
 tracking and advertising tools such as Bing Ads (which facilitates targeted advertising); and
 Microsoft Store (which allows users to purchase and download digital content, e.g., applications).
 Microsoft also provides remote computing services for devices that use Windows operating
 systems, including security services and parental control services which collect information about
 the use of the devices (e.g., internet browsing history, software usage history, and other
 information).

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        49.     Thus, a subscriber’s PROVIDER account can be used not only for e-mail but also for

other types of electronic communication, including instant messaging and photo and video sharing;

voice calls, video chats, SMS text messaging; and social networking. Depending on user settings,

user-generated content derived from many of these services is normally stored on the PROVIDER’s

servers until deleted by the subscriber. Similar to e-mails, such user-generated content can remain

on the PROVIDER’s servers indefinitely if not deleted by the subscriber, and even after being

deleted, it may continue to be available on the PROVIDER’s servers for a certain period of time.

Furthermore, a PROVIDER subscriber can store contacts, calendar data, images, videos, notes,

documents, bookmarks, web searches, browsing history, and various other types of information on

the PROVIDER’s servers. Based on my training and experience, I know that evidence of who

controlled, used, and/or created a PROVIDER account may be found within such computer files and

other information created or stored by the PROVIDER subscriber. Based on my training and

experience, I know that the types of data discussed above can include records and communications

that constitute evidence of criminal activity.

        50.     Based on my training and experience, I know that providers such as the PROVIDER

also collect and maintain information about their subscribers, including information about their use

of the PROVIDER’s services. This information can include the date on which the account was

created, the length of service, records of log-in (i.e., session) times and durations, the types of service

utilized, the status of the account (including whether the account is inactive or closed), the methods

used to connect to the account (such as logging into the account via the provider’s website), and

other log files that reflect usage of the account. Providers such as the PROVIDER also commonly

have records of the Internet Protocol address (“IP address”) used to register the account and the IP

addresses associated with other logins to the account. Because every device that connects to the

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Internet must use an IP address, IP address information can help to identify which devices were used

to access the relevant account. Also, providers such as the PROVIDER typically collect and maintain

location data related to subscriber’s use of PROVIDER’s services, including data derived from IP

addresses and/or Global Positioning System (“GPS”) data.

       51.     Based on my training and experience, I know that providers such as the PROVIDER

also collect information relating to the devices used to access a subscriber’s account – such as laptop

or desktop computers, cell phones, and tablet computers. Such devices can be identified in various

ways. For example, some identifiers are assigned to a device by the manufacturer and relate to the

specific machine or “hardware,” some identifiers are assigned by a telephone carrier concerning a

particular user account for cellular data or voice services, and some identifiers are actually assigned

by the PROVIDER in order to track what devices are using the PROVIDER’s accounts and services.

Examples of these identifiers include unique application number, hardware model, operating system

version, Global Unique Identifier (“GUID”), device serial number, mobile network information,

telephone number, Media Access Control (“MAC”) address, and International Mobile Equipment

Identity (“IMEI”). Based on my training and experience, I know that such identifiers may constitute

evidence of the crimes under investigation because they can be used (a) to find other PROVIDER

accounts created or accessed by the same device and likely belonging to the same user, (b) to find

other types of accounts linked to the same device and user, and (c) to determine whether a particular

device recovered during course of the investigation was used to access the PROVIDER account.

       52.     Based on my training and experience, I know that providers such as the PROVIDER

use cookies and similar technologies to track users visiting the PROVIDER’s webpages and using

its products and services. Basically, a “cookie” is a small file containing a string of characters that a

website attempts to place onto a user’s computer. When that computer visits again, the website will

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recognize the cookie and thereby identify the same user who visited before. This sort of technology

can be used to track users across multiple websites and online services belonging to the PROVIDER.

More sophisticated cookie technology can be used to identify users across devices and web browsers.

From training and experience, I know that cookies and similar technology used by providers such as

the PROVIDER may constitute evidence of the criminal activity under investigation. By linking

various accounts, devices, and online activity to the same user or users, cookies and linked

information can help identify who was using a PROVIDER account and determine the scope of

criminal activity.

         53.   Based on my training and experience, I know that the PROVIDER maintains records

that can link different PROVIDER accounts to one another, by virtue of common identifiers, such

as common e-mail addresses, common telephone numbers, common device identifiers, common

computer cookies, and common names or addresses, that can show a single person, or single group

of persons, used multiple PROVIDER accounts. Based on my training and experience, I also know

that evidence concerning the identity of such linked accounts can be useful evidence in identifying

the person or persons who have used a particular PROVIDER account.

         54.   Based on my training and experience, I know that subscribers can communicate

directly with the PROVIDER about issues relating to the account, such as technical problems, billing

inquiries, or complaints from other users. Providers such as the PROVIDER typically retain records

about such communications, including records of contacts between the user and the provider’s

support services, as well records of any actions taken by the provider or user as a result of the

communications. In my training and experience, such information may constitute evidence of the

crimes under investigation because the information can be used to identify the account’s user or

users.

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        55.      In summary, based on my training and experience in this context, I believe that the

computers of the PROVIDER are likely to contain user-generated content such as stored electronic

communications (including retrieved and un-retrieved e-mail for the PROVIDER’s subscribers), as

well as PROVIDER-generated information about its subscribers and their use of the PROVIDER’s

services and other online services. In my training and experience, all of that information may

constitute evidence of the crimes under investigation because the information can be used to identify

the account’s user or users. In fact, even if subscribers provide the PROVIDER with false

information about their identities, that false information often nevertheless provides clues to their

identities, locations, or illicit activities.

        56.      As explained above, information stored in connection with a PROVIDER account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element of

the offense, or, alternatively, to exclude the innocent from further suspicion. From my training and

experience, I know that the information stored in connection with a PROVIDER account can indicate

who has used or controlled the account. This “user attribution” evidence is analogous to the search

for “indicia of occupancy” while executing a search warrant at a residence. For example, e-mail

communications, contacts lists, and images sent (and the data associated with the foregoing, such as

date and time) may indicate who used or controlled the account at a relevant time. Further,

information maintained by the PROVIDER can show how and when the account was accessed or

used. For example, providers such as the PROVIDER typically log the IP addresses from which

users access the account along with the time and date. By determining the physical location

associated with the logged IP addresses, investigators can understand the chronological and

geographic context of the PROVIDER account access and use relating to the criminal activity under

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investigation. This geographic and timeline information may tend to either inculpate or exculpate

the person who controlled, used, and/or created the account. Additionally, information stored at the

user's account may further indicate the geographic location of the account user at a particular time

(e.g., location information integrated into an image or video sent via e-mail). Finally, stored

electronic data may provide relevant insight into the user's state of mind as it relates to the offense

under investigation. For example, information in the PROVIDER account may indicate its user's

motive and intent to commit a crime (e.g., communications relating to the crime), or consciousness

of guilt (e.g., deleting communications in an effort to conceal them from law enforcement). 4

                    REQUEST TO SUBMIT WARRANT BY TELEPHONE
                      OR OTHER RELIABLE ELECTRONIC MEANS


         57.   I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in connection

with this Application for a Search Warrant. I submit that Assistant U.S. Attorney

an attorney for the United States, is capable of identifying my voice and telephone number for the

Court.

                                           CONCLUSION

         58.   Based on the forgoing, I request the Court issue the proposed search warrant for

                                 Because the warrant will be served on Microsoft, who will then



          At times, internet services providers such as PROVIDER can and do change the details
          4

 and functionality of the services they offer. While the information in this section is true and
 accurate to the best of my knowledge and belief, I have not specifically reviewed every detail of
 PROVIDER' s services in connection with submitting this application for a search warrant. Instead,
 I rely upon my training and experience, and the training and experience of others, to set forth the
 foregoing description for the Court.

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compile the requested records at a time convenient to it, there exists reasonable cause to permit the

execution of the requested warrant at any time in the day or night. Pursuant to 18 U.S.C. § 2703(g),

the presence of a law enforcement officer is not required for the service or execution of this warrant.

                                     REQUEST FOR SEALING

       59.     I further request that the Court order that all papers in support of this Application,

including the Affidavit and Search Warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of the

targets of the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may seriously jeopardize that investigation and the safety of the confidential

sources.

                               REQUEST FOR NON-DISCLOSURE

       60.     I further request that pursuant to the preclusion of notice provisions of 18 U.S.C. §

2705(b), Microsoft be ordered not to notify any person (including the subscriber or customer to

which the materials relate) of the existence of this warrant for a period of one year. Such an order is

justified because notification of the existence of this warrant would seriously jeopardize the ongoing

investigation. Such a disclosure would give the subscriber an opportunity to destroy evidence,

change patterns of behavior, notify confederates, or flee or continue his flight from prosecution.




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       61.     WHEREFORE, it is respectfully requested that the Court grant the attached Order

directing Microsoft not to disclose the existence of the Warrant or the application except to the extent

necessary to carry out the Order.




                                                      Respectfully submitted,




         Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on May 13, 2020



         G. MICHAEL HARVEY
         UNITED STATES MAGISTRATE JUDGE




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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                              District of Columbia

              In the Matter of the Search of
       (Briefly describe the property to be searched
        or identify the person by name and address)                                         Case No. 20-sc-1140
INFORMATION ASSOCIATED WITH ONE ACCOUNT STORED
      AT PREMISES CONTROLLED BY MICROSOFT
    CORPORATION PURSUANT TO 18 U.S.C. 2703 FOR
   INVESTIGATION OF VIOLATIONS OF 50 U.S.C. § 1705

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify thethe person or describe the
property to be searched and give its location):
  See Attachment A incorporated herein and included as part of the Affidavit in Support of this Application for a Search
  Warrant
located in the       Western         District of          Washington               , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B incorporated herein and included as part of the Affidavit in Support of this Application for a Search
 Warrant

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ff evidence of a crime;
                 Iff contraband, fruits of crime, or other items illegally possessed;
                 J property designed for use, intended for use, or used in committing a crime;
                 7I a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                                   Offense Description
        50 U.S.C. § 1705                          Violation of the International Emergency Economic Powers Act
        50 U.S.C. § 4819                          Violation of the Export Control Reform Act of 2018
        18 U.S.C. § § 2 and 371                   Aiding and Abetting and Conspiracy
        18 U.S.C. § 1956                          Money Laundering
         The application is based on these facts:
        See attached Affidavit

           71 Continued on the attached sheet.
           71 Delayed notice of        days (give exact ending date if more than 30 days:                                 ) is requested under
              18 U.S.C. § 3103a, the basis of which is set fort




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                        (specify reliable electronic means).
                                                                                                                    2020.05.13 16:12:28
Date:            05/13/2020                                                                                         -04'00'
                                                                                                         Judge's signature

City and state: Washington, D.C.                                                            G. Michael Harvey, U.S. Magistrate Judge
                                                                                                       Printed name and title
                  Case 1:20-sc-01140-GMH
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AO 93C (�����) �������������������������������������������������������               � Original                � Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
            (Briefly describe the property to be searched                   )
             or identify the person by name and address)                    )      Case No. 20-sc-1140
        INFORMATION ASSOCIATED WITH ONE ACCOUNT                             )
      STORED AT PREMISES CONTROLLED BY MICROSOFT
        CORPORATION PURSUANT TO 18 U.S.C. 2703 FOR
                                                                            )
       INVESTIGATION OF VIOLATIONS OF 50 U.S.C. § 1705                      )

                 �������������������������������������������������������
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search�������������
of the following person or property located in the�                        Western   District of           Washington
(identify the person or describe the property to be searched and give its location):
  See Attachment A incorporated herein and included as part of the Affidavit in Support of this Application for a Search Warrant




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B incorporated herein and included as part of the Affidavit in Support of this Application for a Search Warrant




        YOU ARE COMMANDED to execute this warrant on or before                   May 27, 2020          (not to exceed 14 days)
      � in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               � at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to            U.S. Magistrate Judge G. Michael Harvey          .
                                                                                                  (United States Magistrate Judge)

     � Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     � for         days (not to exceed 30) � until, the facts justifying, the later specific date of                                      .
                                                                                                                    2020.05.13 16:12:50
Date and time issued:          05/13/2020                                                                           -04'00'
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                         G. Michael Harvey U.S. Magistrate Judge
                                                                                                        Printed name and title
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AO 93� (�����) ��������������������������������������������������������(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
  20-sc-1140
Inventory made in the presence of :

Inventory of the property taken and name��� of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                       ATTACHMENT A
                                     Property to Be Searched


       This warrant applies to information which is associated with the Hotmail account(s)

identified by                               and which is stored at premises owned, maintained,

controlled, or operated by Microsoft Corporation, a company that accepts service of legal process

at One Microsoft Way, Redmond, Washington.




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                                        ATTACHMENT B


                         Particular Things to be Seized and Procedures
                             to Facilitate Execution of the Warrant

   I.        Information to be disclosed by Microsoft Corporation (“PROVIDER”) to
             facilitate execution of the warrant

        To the extent the information described in Attachment A is within the possession, custody,

or control of the Provider, including any e-mails, records, files, logs, or information that has been

deleted but is still available to the Provider, or has been preserved pursuant to a request made under

18 U.S.C. § 2703(f), the Provider is required to disclose the following information to the

government for each account or identifier (“Account”) listed in Attachment A:


        a.     For the time period from October 1, 2012, to the present: The contents of all

communications and related transactional records for all PROVIDER services used by an Account

subscriber/user (such as e-mail services, calendar services, file sharing or storage services, photo

sharing or storage services, remote computing services, instant messaging or chat services, voice

call services, or remote computing services), including but not limited to incoming, outgoing, and

draft e-mails, messages, calls, chats, and other electronic communications; attachments to

communications (including native files); source and destination addresses and header or routing

information for each communication (including originating IP addresses of e-mails); the date, size,

and length of each communication; and any user or device identifiers linked to each

communication (including cookies); 5




        5
         Here, PROVIDER’s other services include: electronic communication and remote
computing services such as Skype (voice calls, video calls, and SMS text messaging), Outlook
Calendar (calendar and task), Office Online (cloud computing services for word processing, data
processing, and presentations); OneDrive (online file storage); web browsing and search tools such
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       b.      For the time period from October 1, 2012, to the present: The contents of all other

data and related transactional records for all PROVIDER services used by an Account user (such

as e-mail services, calendar services, file sharing or storage services, photo sharing or storage

services, remote computing services, instant messaging or chat services, voice call services, or

remote computing services), including any information generated, modified, or stored by user(s)

or PROVIDER in connection with the Account (such as contacts, calendar data, images, videos,

notes, documents, bookmarks, profiles, device backups, and any other saved information);


       c.      For the time period from October 1, 2012, to the present: All PROVIDER records

concerning the online search and browsing history associated with the Account or its users (such

as information collected through tracking cookies);


       d.      For the time period from October 1, 2012, to the present: All records and other

information concerning any document, or other computer file created, stored, revised, or accessed

in connection with the Account or by an Account user, including the contents and revision history

of each document or other computer file, and all records and other information about each

connection made to or from such document or other computer file, including the date, time, length,




as Bing Search (internet searches), Microsoft Edge, and Internet Explorer (web browsers); Bing
Maps (maps with driving directions and local business search) and other location services; online
tracking and advertising tools such as Bing Ads (which facilitates targeted advertising); and
Microsoft Store (which allows users to purchase and download digital content, e.g., applications).
Microsoft also provides remote computing services for devices that use Windows operating
systems, including security services and parental control services which collect information about
the use of the devices (e.g., internet browsing history, software usage history, and other
information).


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and method of connection; server log records; data transfer volume; and source and destination IP

addresses and port numbers;


         e.     All records regarding identification of the Account, including names, addresses,

telephone numbers, alternative e-mail addresses provided during registration, means and source of

payment (including any credit card or bank account number), records of session times and

durations (including IP addresses, cookies, device information, and other identifiers linked to those

sessions), records of account registration (including the IP address, cookies, device information,

and other identifiers linked to account registration), length of service and types of services utilized,

account status, methods of connecting, and server log files;


         f.     All records pertaining to devices associated with the Account and software used to

create and access the Account, including device serial numbers, instrument numbers, model

types/numbers, International Mobile Equipment Identities (“IMEI”), Mobile Equipment

Identifiers (“MEID”), Global Unique Identifiers (“GUID”), Electronic Serial Numbers (“ESN”),

Android Device IDs, phone numbers, Media Access Control (“MAC”) addresses, operating system

information, browser information, mobile network information, information regarding cookies and

similar technologies, and any other unique identifiers that would assist in identifying any such

device(s), including unique application numbers and push notification tokens associated with the

Account (including Apple Push Notifications (“APN”), Google Cloud Messaging (“GCM”),

Microsoft Push Notification Service (“MPNS”), Windows Push Notification Service (“WNS”),

Amazon Device Messaging (“ADM”), Firebase Cloud Messaging (“FCM”), and Baidu Cloud

Push);




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          g.   Basic subscriber records and login history (including, as described in 18 U.S.C.

§ 2703(c)(2), names, addresses, records of session times and durations, length of service and types

of service utilized, instrument numbers or other subscriber numbers or identities, and payment

information) concerning any PROVIDER account (including both current and historical accounts)

ever linked to the Account by a common e-mail address (such as a common recovery e-mail

address), or a common telephone number, means of payment (e.g., credit card number),

registration or login IP addresses (during one-week period), registration or login cookies or similar

technologies, or any other unique device or user identifier;


          h.   All information held by PROVIDER related to the location and location history of

the user(s) of the Account, including geographic locations associated with the Account (including

those collected for non-PROVIDER based applications), IP addresses, Global Positioning System

("GPS") information, and information pertaining to nearby devices, Wi-Fi access points, and cell

towers;


          i.   For the time period from October 1, 2012 to the present: All records of

communications between PROVIDER and any person regarding the Account, including contacts

with support services and records of actions taken;


       j.      Information about any complaint, alert, or other indication of malware, fraud, or

terms of service violation related to the Account or associated user(s), including any memoranda,

correspondence, investigation files, or records of meetings or discussions about the Account or

associated user(s) (but not including confidential communications with legal counsel).


               Within 14 days of the issuance of this warrant, PROVIDER shall deliver the

information set forth above via United States mail, courier, or e-mail to the following:


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   II.       Information to be seized by the government

         All information described above in Section I that constitutes evidence, fruits, or

instrumentalities of violations of 50 U.S.C. § 1705 (IEEPA), 18 U.S.C. § 1956 (money

laundering), and 50 U.S.C. § 4819 (ECRA), as well as conspiracy to defraud the United States (18

U.S.C. § 371) and aiding and abetting violations of these provisions (18 U.S.C. § 2), for each

account or identifier listed on Attachment A, including but not limited to information pertaining

to the following matters:

            (a) Information that constitutes evidence of the identification or location of the user(s)

               of the accounts;

            (b) Information involving the procurement or attempted procurement of U.S.-origin

               goods for use in         or by any end-user or entity outside the United States;

            (c) Knowledge of United States export control laws;

            (d) Conversations between the account holder(s) and individuals as it relates to the

               export of U.S.-origin products;

            (e) Evidence indicating how and when the account was accessed or used, to determine

               the geographic and chronological context of account access, use, and events relating

               to the crime under investigation and to the e-mail account owner;

            (f) Evidence indicating the account owner's state of mind as it relates to the criminal

               activity under investigation;

            (g) The identity of the person(s) who created or used the account, including records

               that help reveal the whereabouts of such person(s);

            (h) Identification of coconspirators, accomplices, and aiders and abettors in the

               commission of the above offenses; and



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       (i) The identity of the person(s) who communicated with the account holder about

          matters relating to the provision, attempted provision, procurement, or attempted

          procurement of U.S. origin goods, including records that help reveal their

          whereabouts.




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III.   Government procedures for warrant execution

       The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

       Law enforcement personnel will then seal any information from the PROVIDER that

does not fall within the scope of Section II and will not further review the information absent an

order of the Court. Such sealed information may include retaining a digital copy of all

information received pursuant to the warrant to be used for authentication at trial, as needed.




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                     CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                    BUSINESS RECORDS PURSUANT TO FEDERAL RULE
                                OF EVIDENCE 902(11)


        I, _________________________________, attest, under penalties of perjury under the

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained

in this declaration is true and correct. I am employed by Microsoft C (“Microsoft ”), and my

official title is _____________________________. I am a custodian of records for Microsoft . I

state that each of the records attached hereto is the original record or a true duplicate of the original

record in the custody of Microsoft , and that I am the custodian of the attached records consisting

of __________ (pages/CDs/kilobytes). I further state that:


        a.      all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth, by, or from information transmitted by, a person with knowledge

of those matters;


        b.      such records were kept in the ordinary course of a regularly conducted business

activity of Microsoft ; and


        c.      such records were made by Microsoft as a regular practice.


        I further state that this certification is intended to satisfy Rule 902(11) of the Federal Rules

of Evidence.




 Date                                  Signature
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

  IN THE MATTER OF THE SEARCH OF
  INFORMATION ASSOCIATED WITH
  ONE ACCOUNT STORED AT
                                                      SC No. 20-1140
  PREMISES CONTROLLED BY
  MICROSOFT CORPORATION
                                                      Filed Under Seal
  PURSUANT TO 18 U.S.C. 2703 FOR
  INVESTIGATION OF VIOLATIONS OF
  50 U.S.C. § 1705

 Reference:       USAO Ref #                   Subject Account(s):

                               AFFIDAVIT IN SUPPORT OF
                        AN APPLICATION FOR A SEARCH WARRANT

            I               being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant for information

associated with one account—that is,                                  (TARGET AC C OUNT)—that

is stored at the premises controlled by Microsoft Corporation ("PROVIDER"), an electronic

communications services provider and/or remote computing services provider that is headquartered

at One Microsoft Way, Redmond, Washington. The property to be searched is described in

Attachment A. This affidavit is made in support of an application for a search warrant under 18

U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Microsoft to disclose to the

government copies of the information (including the content of communications) further described

in Section I of Attachment B. Upon receipt of the information described in Section I of Attachment

B, government-authorized persons will review that information to locate the items described in

Section II of Attachment B, using the procedures described in Section III of Attachment B.
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        5.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does not

set forth all of my knowledge, or the knowledge of others, about this matter.

        6.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 50 U.S.C. § 1705 (the

International Emergency Economic Powers Act), 18 U.S.C. § 1956 (money laundering), and 50

U.S.C. § 4819 (the Export Control Reform Act of 2018), as well as conspiracies to violate these

provisions (18 U.S.C. § 371) and aiding and abetting violations of these provisions (18 U.S.C. § 2)

have been committed by                                (the user of TARGET ACCOUNT) and others.

There is also probable cause to search the information described in Attachment A for evidence,

instrumentalities, or fruits of these crimes further described in Attachment B.

                                             JURISDICTION

        7.      This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711, 18 U.S.C. §§ 2703(a), (b)(1)(A) and

(c)(1)(A). Specifically, the Court is "a district court of the United States . . . that has jurisdiction over

the offense being investigated." 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below, acts or

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omissions in furtherance of the offenses under investigation occurred within Washington, DC, see

18 U.S.C. § 3237, and the criminal offenses under investigation began or were committed upon the

high seas, or elsewhere out of the jurisdiction of any particular State or district, and no offender is

known to have, or have had, residence within any United States district. See 18 U.S.C. § 3238. Also,

certain of the statutes setting forth the federal offenses under investigation, namely 18 U.S.C. § 1956

(money laundering), apply extraterritorially. The offenses under investigation are also the subject of

an investigation in the District of Columbia.

                                 APPLICABLE CRIMINAL LAW


       8.      The Export Administration Act and the Export Administration Regulations, the

International Emergency Economic Powers Act, 50 U.S.C. § 1705 (“IEEPA”), and the Export

Control Reform Act of 2018. The EAA regulates the export of goods, technology, and software

from the United States. Pursuant to the provisions of the EAA, the DOC promulgated the EAR, 15

C.F.R. §§ 730-774, which contain additional restrictions on the export of goods outside of the United

States, consistent with the policies and provisions of the EAA. See 15 C.F.R. § 730.02. Although the

EAA lapsed on August 17, 2001, pursuant to the authority provided to the President under IEEPA,

the President issued Executive Order 13222. In that order, the President declared a national

emergency with respect to the unusual and extraordinary threat to the national security, foreign

policy, and economy of the United States in light of the expiration of the EAA. Accordingly,

pursuant to IEEPA, the President ordered that the EAR’s provisions remain in full force and effect

despite the expiration of the EAA. Presidents have repeatedly signed renewals of the national

emergency with respect to the EAA’s expiration, the most recent being that of August 8, 2018. 83

Fed. Reg. 39871 (Aug. 8, 2018).


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       9.         Under IEEPA, it is a crime to willfully violate any regulation promulgated

thereunder, including the EAR. See 50 U.S.C. § 1705. In particular, Title 50, United States Code,

Section 1705 provides:

                   (a)     Unlawful acts. It shall be unlawful for a person to violate,
                   attempt to violate, conspire to violate, or cause a violation of any
                   license, order, regulation, or prohibition issued under [the
                   International Emergency Economic Powers Act].

                   (b)    ...

                   (c)     Criminal penalty. A person who willfully commits, willfully
                   attempts to commit, or willfully conspires to commit, or aids and
                   abets in the commission of, an unlawful act described in subsection
                   (a) shall, upon conviction, be fined . . ., or if a natural person, may
                   be imprisoned for not more than 20 years, or both.

            10.    On August 13, 2018, the President signed into law the National Defense

 Authorization Act of 2019, which includes provision on export controls, entitled the Export

 Control Reform Act of 2018 (“ECRA”), 50 U.S.C. §§ 4801-4852. In part, ECRA provides

 permanent statutory authority for the EAR. For conduct that predates August 13, 2018, IEEPA is

 the controlling statute. For conduct occurring after August 13, 2018, ECRA is the controlling

 statute.

            11.    ECRA provides, among its stated policy objectives, that “the national security and

 foreign policy of the United States require that the export, reexport and in-country transfer of items,

 and specific activities of United States persons, wherever located, be controlled….” 50 U.S.C. §

 4811(2). To that end, ECRA grants the President the authority “(1) to control the export, reexport,

 and in-country transfer of items subject to the jurisdiction of the United States, whether by United

 States persons or by foreign persons; and (2) the activities of United States persons, wherever




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located, relating to” specific categories of items and information. Id. at § 4812(b). ECRA further

grants the Secretary of Commerce the authority to establish the applicable regulatory framework.

       12.     Pursuant to that and prior authority, the DOC reviews and controls the export of

certain items, including goods, software, and technologies, from the United States to foreign

countries through the EAR, 15 C.F.R. §§ 730-774. In particular, the EAR restricts the export of

items that could make a significant contribution to the military potential of other nations or that

could be detrimental to the foreign policy or national security of the United States. The EAR

impose licensing and other requirements for items subject to the EAR to be lawfully exported from

the United States or lawfully re-exported from one foreign destination to another.

       13.     Items “subject to the EAR” include all items in the United States and all U.S.-origin

items wherever located, irrespective of whether a license was required for the export of that items

(with certain exceptions not relevant here). Activities of U.S. or foreign persons prohibited by any

order issued under the EAR were also are “subject to the EAR.”

       14.     The most sensitive items subject to EAR controls are identified on the CCL,

published at 15 C.F.R. part 774, Supp. No. 1. Items on the CCL are categorized by Export Control

Classification Numbers (“ECCN”), each of which has export control requirements depending on

destination, end use, and end user. “EAR99” is a classification for items subject to the EAR, but

not subject to certain expanded export controls associated with items with an ECCN.

       15.     In addition, the EAR contains a list of names of certain foreign persons—including

businesses, research institutions, government and private organizations, individuals, and other

types of legal persons—that are subject to specific license requirements for the export, reexport,

and/or in-country transfer of specified items. These persons comprise the DOC’s “Entity List,” at

Title 15, Code of Federal Regulations, Part 744, Supplement No. 4. Grounds for inclusion on the

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Entity List include activities sanctioned by the U.S. State Department and activities contrary to

U.S. national security or foreign policy interests. The persons on the Entity List are subject to

export licensing requirements and policies beyond those found elsewhere in the EAR. The BIS

license requirement applies to any transaction in which items are to be exported, reexported, or

transferred to such persons or in which such persons act as a purchaser, intermediate consignee,

ultimate consignee, or end-user.

       16.     Pursuant to 50 U.S.C. § 4819(a)(1), “[i]t shall be unlawful for a person to violate,

attempt to violate, conspire to violate, or cause a violation of this part or of any regulation, order,

license, or other authorization issued under this part,” and pursuant to §4819(b),”[a] person who

willfully commits, willfully attempts to commit, or willfully conspires to commit, or aids or abets

in the commission of, an unlawful act described in subsection (a) shall” be guilty of a crime.

       17.     International Money Laundering. 18 U.S.C. §§ 1956(a)(2) and (c)(7)(B)(v)(II)

provide, in pertinent part:

               (a)(2) Whoever transports, transmits, or transfers, or attempts to
               transport, transmit, or transfer a monetary instrument or funds from
               a place in the United States to or through a place outside the United
               States or to a place in the United States from or through a place
               outside the United States—

               (A) with the intent to promote the carrying on of specified unlawful
               activity . . .

               shall be sentenced to a fine of not more than $500,000 or twice the
               value of the monetary instrument or funds involved in the
               transportation, transmission, or transfer, whichever is greater, or
               imprisonment for not more than twenty years, or both.

               (c) As used in this section—

                (7) the term “specified unlawful activity” means--
               ...
                 (B) with respect to a financial transaction occurring in whole or in

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                   part in the United States, an offense against a foreign nation
                   involving--

                     (v) smuggling or export control violations involving—

                   (II) an item controlled under regulations under the Export
                   Administration Regulations (15 C.F.R. Parts 730-774).

                               RELEVANT PERSONS AND ENTITIES

         18.                                          the user of TARGET ACCOUNT, is believed to

be a             national who lives in                     According to BIS and the Federal Register,

               and her former company,                     were added to the Entity List on or about

                    for their involvement in the procurement and delivery of

               to entities and persons in       in violation of the EAR and the International Traffic

in Arms Regulations, 22 C.F.R. Parts 120-130.

         19.     Based on multiple investigative sources,               is believed to be married to

           Person A.

         20.                                                                             Person A is

believed to be a            national who resides in                   and is the president of

Company A and                Company B.

         21.     Based on open source records,                Person B is believed to be a

national who works for                Company B and is associated with                  and

Company A.

         22.     According to open source databases,                Company A is a

company, purported to be part of the                                      industry and to be involved

in import and export of goods.



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        23.     According to open source databases,                     Company B is a

company, also purported to be part of the                                             industry and to be

involved in import and export of goods.

        24.                              Company A,                Company B,              Person A, and

           Person B are collectively referred to as the SUBJECTS.

                                           PROBABLE CAUSE

                                                Background

        25.     As noted above,                 and                  were added to the Entity List on or

about

        26.     According to e-mail communications I reviewed between                           and BIS

officials, in or around November 2012,                      appealed BIS' s decision to add her and her

company                   to the Entity List.

        27.     In or around April 2016,                  contacted BIS via a             e-mail address

to inquire about the status of her appeal and request reconsideration of the previous Entity List

decision. In this communication,                wrote that                  has been un-operational since

                 and that the company had been dissolved. Additionally,                   stated, "As per

all the paperwork submitted you can see that I have never done anything to jeopardise [sic] the

security and integrity of United States of America . . . I would like to request that after 3 year [sic]

my file is reviewed and my name is removed from the list."                      then informed BIS to use

TARGET ACCOUNT for further correspondence.

        28.                     efforts ultimately were not successful, and she remains on the Entity

List as of the date of this affidavit.



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                                          Suspected Scheme to Procure U.S. Goods

          29.     Based on my training and experience, and the investigation to date, I have identified

numerous indicators that suggest                 has participated in the creation and operation of two

companies,                Company A and               Company B. As detailed below, I believe

Company A and                    Company B were formed, at least in part, to facilitate the illicit

procurement of U.S.-origin items by                      and others in order to circumvent the licensing

requirements on                  and                  imposed due to their listing on the Entity List, in

violation of IEEPA, ECRA, and other applicable U.S. laws and regulations.

          30.     According to a              business registry website I reviewed in April 2020,

            Company B was formally incorporated in December 2012 and                    Company A was

incorporated in March 2013, just months after                   and             were added to the Entity

List in                    The president of both companies was listed as               Person A, who I

believe is                             according to multiple investigative sources. Both

Company B and                 Company A have a listed address in

                                                      respectively.

          31.     Based on the open source domain information for                Company B's website,

                was the                                                             or the domain, with

TARGET ACCOUNT listed as the contact e-mail address. Moreover,                            Company B's

website was registered on or about October 30, 2012, approximately               weeks after

and                  were added to the Entity List.

          32.     According to a publicly viewable website that collects global trade data and company

profile information, as of April 26, 2020,                  Company B had a previous address of



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                                                    The Entity List lists this same address as belonging to

                and

         33.      On or about June 6, 2017, BIS Special Agents conducted an end-use check on

           Company A and met with                       Person A as part of BIS' regulatory mission.1

According to the BIS Special Agents who completed this check,                     Company A is a



                                                                                      During this end-use

check,                Person A informed the BIS Special Agents that all of             Company A's sales

are to customers in               In other words,             Company A reexports all of the goods it

receives from                       to

         34.      According to a                                                           as of April 27,

2020,                 Person B has been the                      of            Company B from January

2014 to the present, and was an                                                      from 2011 to 2013.

               Person B's duties in both positions have included



         35.      U.S. government export records show that               Company A has received at least

    shipments of                                            since May 2015, with at least         of those



         1 As explained on the official BIS website: "Many end-use checks are conducted through
                                                             are deployed from the United States to
 countries to visit the end-users of sensitive controlled commodities and determine whether these
 items are being used in accordance with license conditions.                   assess the suitability of
 foreign end-users to receive U.S.-origin licensed goods and technology, assess prospective end-
 users on pending license applications for diversion risk, and conduct educational outreach to
 foreign trade groups. In this way,          trips help to create the confidence needed to foster trade
 while strengthening U.S. national security."

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shipments since May 2019, for a total value of at leastMl.      Additionally,Eof these shipments

listed          Company A as an                                                           in M.

Based on my review of these records, the types of commodities listed (e.g.,

generally have fallen into the same category of items that were previously procured by

and                before they were added to the Entity List.

         36.   U.S. government export records did not show any exports of U.S. goods to

Company B. However,               Person B—an employee of             Company B according to•

                                   —was listed as a point of contact on a number of U.S. exports to

           Company A in 2014. Consequently, based on this listing and other information described

above, I believe             Company B and                 Company A are affiliated and that the

SUBJECTS have a business relationship.

         37.




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       38.      The 2703(d) order results for TARGET ACCOUNT show that                         had

approximately        e-mail exchanges with e-mail account

believed to be used by               (              ACCOUNT 2), from March 26, 2013, to October

29, 2019. Additionally, many of the e-mail exchanges between TARGET ACCOUNT and

             ACCOUNT 2 appear to coincide with the approximate dates of known exports by■

companies to             Company A, some of which are detailed below.

             a. On or about October 22, 2013, an identified U.S. company exported

                              to              Company A. Between on or about October 21 and October

                 22, 2013, TARGET ACCOUNT sent                         ACCOUNT 2 three e-mails.

             b. On or about March 18, 2014, an identified U.S. company exported

                              to               Company A. On or about March 17, 2014, TARGET

                 ACCOUNT sent                      ACCOUNT 2 two e-mails.

             c. On or about July 7 and July 24, 2014, an identified U.S. company exported

                                         to               Company A. Between on or about July 7 and

                 July 30, 2014, TARGET ACCOUNT and                          ACCOUNT 2 had seven

                 e-mail exchanges.

             d. On or about July 16, 2015, an identified U.S. company exported

                              to              Company A. Between on or about July 16 and July 17,

                 2015, TARGET ACCOUNT sent                          ACCOUNT 2 16 e-mails.

             e. On or about March 15, 2016, an identified U.S. company exported

                              to               Company A. On or about March 15, 2016, TARGET

                 ACCOUNT sent                      ACCOUNT 2 one e-mail.



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       f. On or about July 25, 2016, an identified U.S. company exported

                        to            Company A. On or about July 25, 2016, TARGET

            ACCOUNT sent                 ACCOUNT 2 three e-mails.

       g.   On or about February 10, 2017, an identified U.S. company exported

                       to            Company A. On or about February 10, 2017, TARGET

            ACCOUNT sent                 ACCOUNT 2 two e-mails.

       h. On or about August 22, 2017, an identified U.S. company exported

                                     Company A. On or about August 22, 2017, TARGET

            ACCOUNT sent                 ACCOUNT 2 four e-mails.

       i.   On or about May 18 and May 22, 2018, an identified U.S. company exported

                                to              Company A. On or about May 18 and May 22,

            2018, TARGET ACCOUNT sent                      ACCOUNT 2 one e-mail.

       j.   On or about November 21, 2018, an identified U.S. company exported

                       to            Company A. On or about November 21, 2018, TARGET

            ACCOUNT sent                 ACCOUNT 2 an e-mail.

       k. On or about March 4, 2019, an identified U.S. company exported

                       to             Company A. On or about March 4, 2019, TARGET

            ACCOUNT sent                 ACCOUNT 2 two e-mails.

       1.   On or about April 19, 2019, an identified U.S. company exported

                       to             Company A. On or about April 19, 2019, TARGET

            ACCOUNT sent                 ACCOUNT 2 four e-mails.

       m. On or about September 12, 2019, an identified U.S. company exported

                       to             Company A. Between on or about September 11 and

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                  September 13, 2019, TARGET ACCOUNT and                            ACCOUNT 2 had

                  three exchanges of e-mail communication.

        39.      As of May 1, 2020,                                     showed no current or historical

licenses approved for                   to receive exports or complete re-exports or transfers of U.S.-

origin items. Similarly, this database did not reflect any current or historical authorization on the

part of either           Company B or                Company A to receive U.S.-origin items on behalf

of

                            Potential Misrepresentations by                  to BIS

        40.      On September 19, 2019, I contacted                at TARGET ACCOUNT using my

official BIS e-mail account that contained a signature block showing my law enforcement status.

During this communication, I asked                   numerous questions, including if she had directly

or indirectly (including family members) been involved in the incorporation or operation of any

company used to receive U.S.-origin items since October 2012.                       , using TARGET

ACCOUNT, responded, "the answer to all questions is no..




        41.      After this exchange,               sent me via TARGET ACCOUNT a photocopy of

an identification card bearing her name, photo, date of birth, and other information. During my initial

e-mail to             , I had requested she send me a photocopy of an official identification document

in order for BIS to verify her identity.

        42.      On or about September 23, 2019, I received an e-mail from                       using

TARGET ACCOUNT, which read, "Dear [affiant]...i was thinking more about the questions i

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guess iphone and its accessories can be considered US technology as well as DELL PC and laptop,

but i purchased them for my personal use in             from the stores and telephone providers...Best

regards [            ]". Later that day, I replied to             that having commercial electronics

for personal use was not the intent of my original questions.

       43.     I submit there is probable cause that               has knowledge of the EAR and the

licensing requirements enacted when a person and/or company is added to the Entity List. I believe

             may be concealing her affiliation with             Company B and             Company A

in order to obscure her involvement in the procurement of                                        most

or all of which are subsequently re-exported from             to end-users in

As mentioned above, because of the increased risk to U.S. national security and foreign policy

interests, foreign persons found on the Entity List are generally prohibited from receiving U.S. goods

absent explicit BIS authorization.

                            BACKGROUND CONCERNING E-MAIL

       44.     Microsoft is the provider of the internet-based account(s) identified by TARGET

ACCOUNT.

       45.     The PROVIDER provides their subscribers internet-based accounts that allow them

to send, receive, and store e-mails online. The PROVIDER's accounts are typically identified by a

single username, which serves as the subscriber's default e-mail address, but which can also function

as a subscriber's username for the PROVIDER's other services, such as instant messages and remote

photo or file storage.

       46.     Based on my training and experience, I know that the PROVIDER allows subscribers

to obtain accounts by registering on the PROVIDER's website. During the registration process, the

PROVIDER asks subscribers to create a username and password, and to provide basic personal

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information such as a name, an alternate e-mail address for backup purposes, a phone number, and

in some cases a means of payment. The PROVIDER typically does not verify subscriber names.

However, the PROVIDER does verify the e-mail address or phone number provided.

       47.     Once a subscriber has registered an account, the PROVIDER provide e-mail services

that typically include folders such as an “inbox” and a “sent mail” folder, as well as electronic

address books or contact lists, and all of those folders are linked to the subscriber’s username. The

PROVIDER’s subscribers can also use that same username or account in connection with other

services provided by the PROVIDER.3

       48.     In general, user-generated content (such as e-mail) that is written using, stored on,

sent from, or sent to the PROVIDER’s account can be permanently stored in connection with that

account, unless the subscriber deletes the material. For example, if the subscriber does not delete an

e-mail, the e-mail can remain on the PROVIDER’s servers indefinitely. Even if the subscriber

deletes the e-mail, it may continue to exist on the PROVIDER’s servers for a certain period of time.




         3
           Here, PROVIDER’s other services include electronic communication and remote
 computing services such as Skype (voice calls, video calls, and SMS text messaging), Outlook
 Calendar (calendar and task), Office Online (cloud computing services for word processing, data
 processing, and presentations); OneDrive (online file storage); web browsing and search tools such
 as Bing Search (internet searches), Microsoft Edge, and Internet Explorer (web browsers); Bing
 Maps (maps with driving directions and local business search) and other location services; online
 tracking and advertising tools such as Bing Ads (which facilitates targeted advertising); and
 Microsoft Store (which allows users to purchase and download digital content, e.g., applications).
 Microsoft also provides remote computing services for devices that use Windows operating
 systems, including security services and parental control services which collect information about
 the use of the devices (e.g., internet browsing history, software usage history, and other
 information).

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        49.     Thus, a subscriber’s PROVIDER account can be used not only for e-mail but also for

other types of electronic communication, including instant messaging and photo and video sharing;

voice calls, video chats, SMS text messaging; and social networking. Depending on user settings,

user-generated content derived from many of these services is normally stored on the PROVIDER’s

servers until deleted by the subscriber. Similar to e-mails, such user-generated content can remain

on the PROVIDER’s servers indefinitely if not deleted by the subscriber, and even after being

deleted, it may continue to be available on the PROVIDER’s servers for a certain period of time.

Furthermore, a PROVIDER subscriber can store contacts, calendar data, images, videos, notes,

documents, bookmarks, web searches, browsing history, and various other types of information on

the PROVIDER’s servers. Based on my training and experience, I know that evidence of who

controlled, used, and/or created a PROVIDER account may be found within such computer files and

other information created or stored by the PROVIDER subscriber. Based on my training and

experience, I know that the types of data discussed above can include records and communications

that constitute evidence of criminal activity.

        50.     Based on my training and experience, I know that providers such as the PROVIDER

also collect and maintain information about their subscribers, including information about their use

of the PROVIDER’s services. This information can include the date on which the account was

created, the length of service, records of log-in (i.e., session) times and durations, the types of service

utilized, the status of the account (including whether the account is inactive or closed), the methods

used to connect to the account (such as logging into the account via the provider’s website), and

other log files that reflect usage of the account. Providers such as the PROVIDER also commonly

have records of the Internet Protocol address (“IP address”) used to register the account and the IP

addresses associated with other logins to the account. Because every device that connects to the

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Internet must use an IP address, IP address information can help to identify which devices were used

to access the relevant account. Also, providers such as the PROVIDER typically collect and maintain

location data related to subscriber’s use of PROVIDER’s services, including data derived from IP

addresses and/or Global Positioning System (“GPS”) data.

       51.     Based on my training and experience, I know that providers such as the PROVIDER

also collect information relating to the devices used to access a subscriber’s account – such as laptop

or desktop computers, cell phones, and tablet computers. Such devices can be identified in various

ways. For example, some identifiers are assigned to a device by the manufacturer and relate to the

specific machine or “hardware,” some identifiers are assigned by a telephone carrier concerning a

particular user account for cellular data or voice services, and some identifiers are actually assigned

by the PROVIDER in order to track what devices are using the PROVIDER’s accounts and services.

Examples of these identifiers include unique application number, hardware model, operating system

version, Global Unique Identifier (“GUID”), device serial number, mobile network information,

telephone number, Media Access Control (“MAC”) address, and International Mobile Equipment

Identity (“IMEI”). Based on my training and experience, I know that such identifiers may constitute

evidence of the crimes under investigation because they can be used (a) to find other PROVIDER

accounts created or accessed by the same device and likely belonging to the same user, (b) to find

other types of accounts linked to the same device and user, and (c) to determine whether a particular

device recovered during course of the investigation was used to access the PROVIDER account.

       52.     Based on my training and experience, I know that providers such as the PROVIDER

use cookies and similar technologies to track users visiting the PROVIDER’s webpages and using

its products and services. Basically, a “cookie” is a small file containing a string of characters that a

website attempts to place onto a user’s computer. When that computer visits again, the website will

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recognize the cookie and thereby identify the same user who visited before. This sort of technology

can be used to track users across multiple websites and online services belonging to the PROVIDER.

More sophisticated cookie technology can be used to identify users across devices and web browsers.

From training and experience, I know that cookies and similar technology used by providers such as

the PROVIDER may constitute evidence of the criminal activity under investigation. By linking

various accounts, devices, and online activity to the same user or users, cookies and linked

information can help identify who was using a PROVIDER account and determine the scope of

criminal activity.

         53.   Based on my training and experience, I know that the PROVIDER maintains records

that can link different PROVIDER accounts to one another, by virtue of common identifiers, such

as common e-mail addresses, common telephone numbers, common device identifiers, common

computer cookies, and common names or addresses, that can show a single person, or single group

of persons, used multiple PROVIDER accounts. Based on my training and experience, I also know

that evidence concerning the identity of such linked accounts can be useful evidence in identifying

the person or persons who have used a particular PROVIDER account.

         54.   Based on my training and experience, I know that subscribers can communicate

directly with the PROVIDER about issues relating to the account, such as technical problems, billing

inquiries, or complaints from other users. Providers such as the PROVIDER typically retain records

about such communications, including records of contacts between the user and the provider’s

support services, as well records of any actions taken by the provider or user as a result of the

communications. In my training and experience, such information may constitute evidence of the

crimes under investigation because the information can be used to identify the account’s user or

users.

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        55.      In summary, based on my training and experience in this context, I believe that the

computers of the PROVIDER are likely to contain user-generated content such as stored electronic

communications (including retrieved and un-retrieved e-mail for the PROVIDER’s subscribers), as

well as PROVIDER-generated information about its subscribers and their use of the PROVIDER’s

services and other online services. In my training and experience, all of that information may

constitute evidence of the crimes under investigation because the information can be used to identify

the account’s user or users. In fact, even if subscribers provide the PROVIDER with false

information about their identities, that false information often nevertheless provides clues to their

identities, locations, or illicit activities.

        56.      As explained above, information stored in connection with a PROVIDER account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element of

the offense, or, alternatively, to exclude the innocent from further suspicion. From my training and

experience, I know that the information stored in connection with a PROVIDER account can indicate

who has used or controlled the account. This “user attribution” evidence is analogous to the search

for “indicia of occupancy” while executing a search warrant at a residence. For example, e-mail

communications, contacts lists, and images sent (and the data associated with the foregoing, such as

date and time) may indicate who used or controlled the account at a relevant time. Further,

information maintained by the PROVIDER can show how and when the account was accessed or

used. For example, providers such as the PROVIDER typically log the IP addresses from which

users access the account along with the time and date. By determining the physical location

associated with the logged IP addresses, investigators can understand the chronological and

geographic context of the PROVIDER account access and use relating to the criminal activity under

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investigation. This geographic and timeline information may tend to either inculpate or exculpate

the person who controlled, used, and/or created the account. Additionally, information stored at the

user's account may further indicate the geographic location of the account user at a particular time

(e.g., location information integrated into an image or video sent via e-mail). Finally, stored

electronic data may provide relevant insight into the user's state of mind as it relates to the offense

under investigation. For example, information in the PROVIDER account may indicate its user's

motive and intent to commit a crime (e.g., communications relating to the crime), or consciousness

of guilt (e.g., deleting communications in an effort to conceal them from law enforcement). 4

                    REQUEST TO SUBMIT WARRANT BY TELEPHONE
                      OR OTHER RELIABLE ELECTRONIC MEANS


         57.   I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in connection

with this Application for a Search Warrant. I submit that Assistant U.S. Attorney

an attorney for the United States, is capable of identifying my voice and telephone number for the

Court.

                                           CONCLUSION

         58.   Based on the forgoing, I request the Court issue the proposed search warrant for

                                 Because the warrant will be served on Microsoft, who will then



          At times, internet services providers such as PROVIDER can and do change the details
          4

 and functionality of the services they offer. While the information in this section is true and
 accurate to the best of my knowledge and belief, I have not specifically reviewed every detail of
 PROVIDER' s services in connection with submitting this application for a search warrant. Instead,
 I rely upon my training and experience, and the training and experience of others, to set forth the
 foregoing description for the Court.

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compile the requested records at a time convenient to it, there exists reasonable cause to permit the

execution of the requested warrant at any time in the day or night. Pursuant to 18 U.S.C. § 2703(g),

the presence of a law enforcement officer is not required for the service or execution of this warrant.

                                     REQUEST FOR SEALING

       59.     I further request that the Court order that all papers in support of this Application,

including the Affidavit and Search Warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of the

targets of the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may seriously jeopardize that investigation and the safety of the confidential

sources.

                               REQUEST FOR NON-DISCLOSURE

       60.     I further request that pursuant to the preclusion of notice provisions of 18 U.S.C. §

2705(b), Microsoft be ordered not to notify any person (including the subscriber or customer to

which the materials relate) of the existence of this warrant for a period of one year. Such an order is

justified because notification of the existence of this warrant would seriously jeopardize the ongoing

investigation. Such a disclosure would give the subscriber an opportunity to destroy evidence,

change patterns of behavior, notify confederates, or flee or continue his flight from prosecution.




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       61.     WHEREFORE, it is respectfully requested that the Court grant the attached Order

directing Microsoft not to disclose the existence of the Warrant or the application except to the extent

necessary to carry out the Order.




         Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on May 13, 2020
                                          2020.05.13 16:13:23
                                          -04'00'
         G. MICHAEL HARVEY
         UNITED STATES MAGISTRATE JUDGE




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